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 1   Lauren S. Wulfe (SBN 287592)                     Paul W. Rodney (admitted pro hac vice)
     ARNOLD & PORTER KAYE SCHOLER LLP                 ARNOLD & PORTER KAYE SCHOLER LLP
 2   777 South Figueroa Street, Forty-Fourth Floor    1144 15th Street, Suite 3100
     Los Angeles, California 90017                    Denver, CO 80202
 3   Telephone: 213-243-4000                          Telephone: 303-863-1000
     Facsimile: 213-243-4199                          Facsimile: 303-832-0428
 4   Lauren.Wulfe@arnoldporter.com                    Paul.Rodney@arnoldporter.com

 5   John C. Massaro (admitted pro hac vice)
     Daphne O’Connor (admitted pro hac vice)
 6   Jason A. Ross (admitted pro hac vice)
     David E. Kouba (admitted pro hac vice)
 7   ARNOLD & PORTER KAYE SCHOLER LLP
     601 Massachusetts Ave, NW
 8   Washington, DC 20001
     Telephone: 202-942-5000
 9   Facsimile: 202-942-5999
     John.Massaro@arnoldporter.com
10   Daphne.OConnor@arnoldporter.com
     Jason.Ross@arnoldporter.com
11   David.Kouba@arnoldporter.com

12   Attorneys for Defendants Altria Group, Inc.,
     Philip Morris USA Inc., Altria Client Services LLC,
13   Altria Group Distribution Company, and
     Altria Enterprises LLC
14

15                                 UNITED STATES DISTRICT COURT

16                              NORTHERN DISTRICT OF CALIFORNIA

17                                       SAN FRANCISCO DIVISION

18
                                                     Case No.:19-MD-02913-WHO
19    IN RE: JUUL LABS, INC., MARKETING,
      SALES PRACTICES, AND PRODUCTS                  The Honorable William H. Orrick
20    LIABILITY LITIGATION
                                                     [PROPOSED] ORDER GRANTING
21                                                   ALTRIA’S MOTION TO DISMISS WITH
      This Document Relates to:                      PREJUDICE NON-COMMUNICATING
22
                                                     PLAINTIFFS’ CLAIMS
      All Plaintiffs Identified in Exhibit A
23
                                                     Hon. William H. Orrick
24

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                            [PROPOSED] ORDER GRANTING ALTRIA’S MOTION TO DISMISS
                            WITH PREJUDICE NON-COMMUNICATING PLAINTIFFS’ CLAIMS
           Case 3:22-cv-08763-WHO Document 7 Filed 07/09/24 Page 2 of 17


 1          Before the Court is the Motion by Defendants Altria Group, Inc., Philip Morris USA Inc.,

 2   Altria Client Services LLC, Altria Group Distribution Company, and Altria Enterprises LLC

 3   (“Altria”) to Dismiss With Prejudice Non-Communicating Plaintiffs’ Claims identified in Exhibit A

 4   in the above referenced, consolidated actions. Having considered the Motion, and with good cause

 5   appearing therefore, the Court hereby GRANTS the Motion and DISMISSES the Complaints filed

 6   by all plaintiffs identified in Exhibit A with prejudice.

 7
     IT IS SO ORDERED.
 8
     Date: July 9, 2024
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10                                                               The Honorable William H. Orrick
                                                                 United States District Judge
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                            [PROPOSED] ORDER GRANTING ALTRIA’S MOTION TO DISMISS
                            WITH PREJUDICE NON-COMMUNICATING PLAINTIFFS’ CLAIMS
             Case 3:22-cv-08763-WHO Document 7 Filed 07/09/24 Page 3 of 17


 1                                                    Exhibit A

 2
         First Name          Last Name         Case Caption                          Docket Number
 3

 4       Dylan               Muscari           Muscari v. JUUL Labs, Inc.,           3:22-cv-07968-WHO
                                               previously d/b/a as Pax Labs, Inc.
 5                                             and Ploom Inc. et al.
 6       Caden               McCandless        McCandless v. JUUL Labs, Inc., et     3:22-cv-06697-WHO
                                               al.
 7
         Abigail             Ferris            Ferris v. JUUL Labs, Inc.,            3:22-cv-08202-WHO
 8
                                               previously d/b/a as Pax Labs, Inc.
 9                                             and Ploom Inc. et al.

10       Shawn               Dudani            Dudani v. JUUL Labs, Inc.             3:22-cv-08400-WHO
                                               previously d/b/a Pax Labs, Inc. and
11                                             Ploom Inc. et al.
12       Garner              Brown             Brown v. JUUL Labs, Inc., et al.      3:22-cv-07729-WHO
13

14       Nyomi               Vila              Vila v. JUUL Labs, Inc., et al.       3:22-cv-07977-WHO

15
         Tyler               Higgins           Higgins v. JUUL Labs, Inc., et al.    3:22-cv-08139-WHO
16

17       Ralph               Howell1           Messina, et al. v. JUUL Labs, Inc.,   3:22-cv-07109
18                                             et al.

19       Jadon               Kummers           Kummers v. JUUL Labs, Inc., et al.    3:22-cv-06151

20
         Emmanuel            Nwodo             Emmanuel Nwodo v. JUUL Labs           3:22-cv-04527
21                                             Inc., et al.
22
         Anthony             Mellis            Anthony Mellis v. JUUL Labs Inc.,     3:22-cv-05704
23                                             et al.

24       Steven              Rivas             Steven Rivas v. JUUL Labs Inc., et    3:19-cv-08311
                                               al.
25
         Bailey              Wasniak           Bailey Wasniak v. JUUL Labs Inc.,     3:22-cv-06274
26
                                               et al.
27

28   1
         Plaintiff is the member of a multi-plaintiff case.
                                                              -2-                       19-md-02913-WHO
                              [PROPOSED] ORDER GRANTING ALTRIA’S MOTION TO DISMISS
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           Case 3:22-cv-08763-WHO Document 7 Filed 07/09/24 Page 4 of 17


 1   First Name       Last Name       Case Caption                           Docket Number
 2
     Baley            Myerscough      Baley Myerscough v. JUUL Labs          3:22-cv-06276
 3
                                      Inc., et al.
 4
     Joe              Park            Joe Park v. JUUL Labs Inc., et al.     3:22-cv-06415
 5

 6   Damon            Shumake         Damon Shumake v. JUUL Labs Inc., 3:22-cv-06790
                                      et al.
 7

 8   David            Beckett         David Beckett v. JUUL Labs Inc., et    3:22-cv-06809
                                      al.
 9
     Wyatt            Harrington      Wyatt Harrington v. JUUL Labs          3:22-cv-06821
10                                    Inc., et al.
11   Devin            Gryl            Devin Gryl v. JUUL Labs Inc., et al.   3:22-cv-06683
12

13   Reagan           Adams           R.A., a minor, by and through his      3:20-cv-01160
                                      parent and next friend, Philip Adams
14                                    v. JUUL Labs Inc., et al.
15   Bennett          Dubois          Bennett DuBois v. JUUL Labs Inc.,      3:20-cv-01369
                                      et al.
16

17   Bridgette        Collins         B.C., a Minor, by Tara Dye, Her        3:20-cv-02375
                                      Mother and Next Friend, v. JUUL
18                                    Labs, Inc. et al.

19   Chase            O’Keefe         Chase O’Keefe v. JUUL Labs Inc.,       3:22-cv-07831
                                      et al.
20
     Damian           Maffei          Damian Maffei v. JUUL Labs Inc.,       3:20-cv-02656
21
                                      et al.
22
     Giavanna         Fioretti        Giavanna Fioretti v. JUUL Labs         3:22-cv-06368
23                                    Inc., et al.

24   Nathan           Saelens         Nathan Saelens v. JUUL Labs Inc.,      3:20-cv-02799
                                      et al.
25

26   Julian           Muhlemann       Julian Muhlemann v. JUUL Labs          3:20-cv-02822
                                      Inc., et al.
27
     Malia            Parker          Malia Parker v. JUUL Labs Inc., et     3:20-cv-05275
28                                    al.

                                                 -3-                            19-md-02913-WHO
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            Case 3:22-cv-08763-WHO Document 7 Filed 07/09/24 Page 5 of 17


 1   First Name        Last Name       Case Caption                            Docket Number
 2
     MD                Noor            MD Noor v. JUUL Labs Inc., et al.       3:20-cv-06070
 3

 4
     Erik              Acheson         Erik Acheson v. JUUL Labs Inc., et      3:20-cv-06083
 5                                     al.

 6   Zachary           Doe             Zachary Doe v. JUUL Labs Inc., et       3:20-cv-06601
                                       al.
 7

 8   Nicholas          Kapon           Nicholas Kapon v. JUUL Labs Inc.,       3:20-cv-07500
                                       et al.
 9
     Gabrielle         Kirkendol       Gabrielle Kirkendol v. JUUL Labs        3:20-cv-08299
10                                     Inc., et al.
11   Drew              Stewart         Drew Stewart v. JUUL Labs Inc., et      3:21-cv-00878
12                                     al.

13   Tahj              Fulcher         Tahj Fulcher v. JUUL Labs Inc., et      3:21-cv-00563
                                       al.
14
     Jaiden            Dunstan         J.D., by and through Kristyn            3:21-cv-02034
15                                     Dunstan, as Next Friend and Parent
16                                     v. JUUL Labs Inc., et al.

17   Aram              Kashakhi        Aram Kashakhi v. JUUL Labs Inc.,        3:21-cv-04070
                                       et al.
18
     Fernando          Lucchetti       Fernando Lucchetti v. JUUL Labs         3:21-cv-04713
19                                     Inc., et al.
20   Morgan            Wideman         Morgan Wideman v. JUUL Labs             3:21-cv-05553
21                                     Inc., et al.

22   Austin            Wiegand         Austin Wiegand v. JUUL Labs Inc.,       3:21-cv-08851
                                       et al.
23
     Tate              Vestal          Tate Vestal v. JUUL Labs Inc., et al.   3:21-cv-09315
24

25
     James             Roberts         James Roberts v. JUUL Labs Inc., et     3:21-cv-09533
26                                     al.

27   Greta             Loraditch       Greta Loraditch v. JUUL Labs Inc.,      3:21-cv-09607
                                       et al.
28

                                                   -4-                            19-md-02913-WHO
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 1   First Name     Last Name       Case Caption                           Docket Number
 2
     Thaddeus       Troublefield    Thaddeus Troublefield v. JUUL          3:21-cv-09625
 3
                                    Labs Inc., et al.
 4
     Noah           Carbert         Noah Carbert v. JUUL Labs Inc., et     3:21-cv-09692
 5                                  al.

 6   Daniel         Britton         Daniel Britton v. JUUL Labs Inc., et   3:21-cv-07976
                                    al.
 7

 8   William        Marchiani       William Marchiani v. JUUL Labs         3:22-cv-06805
                                    Inc., et al.
 9
     Jacob          Bligh           Jacob Bligh v. JUUL Labs Inc., et al. 3:22-cv-06657
10

11   Noah           Hutchinson      Noah Hutchinson v. JUUL Labs           3:22-cv-06649
12                                  Inc., et al.

13   Audreeanna     Downing         Audreeanna Downing v. JUUL Labs         3:22-cv-06741
                                    Inc., et al.
14
     Nicholas       Williams        Nicholas Williams v. JUUL Labs         3:22-cv-04384
15                                  Inc., et al.
16
     Emily          Wendleton       Emily Wendleton v. JUUL Labs           3:22-cv-05751
17                                  Inc., et al.

18   Rogelio        Zavala          Rogelio Zavala v. JUUL Labs Inc.,      3:22-cv-06720
                                    et al.
19
20   James          Knight          James Knight v. JUUL Labs Inc., et     3:22-cv-04666
                                    al.
21
     Hayley         Rust            Hayley Rust v. JUUL Labs Inc., et      3:22-cv-02518
22                                  al.
23   Kaitlyn        Hunt            Kaitlyn Hunt v. JUUL Labs Inc., et     3:22-cv-05650
24                                  al.

25   Bahja          Mohamoud        Bahja Mohamoud v. JUUL Labs            3:22-cv-05709
                                    Inc., et al.
26
     Shantasia      Jacob           Shantasia Jacob v. JUUL Labs Inc.,     3:22-cv-05909
27                                  et al.
28

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 1   First Name        Last Name       Case Caption                            Docket Number
 2
     Connor            Loos            Connor Loos v. JUUL Labs Inc., et       3:22-cv-05729
 3
                                       al.
 4
     Brian             Shannon         Brian P. Shannon v. JUUL Labs           3:22-cv-05715
 5                                     Inc., et al.

 6   Travis            Ford            Travis Ford v. JUUL Labs Inc., et al.   3:22-cv-04333
 7

 8   Sarel             Lopez           Sarel Lopez v. JUUL Labs Inc., et       3:22-cv-05684
                                       al.
 9
     Nathan            Sims            Nathan Sims v. JUUL Labs Inc., et       3:22-cv-05681
10                                     al.
11   Jose              Soriano         Jose Soriano v. JUUL Labs Inc., et      3:22-cv- 05645
12                                     al.

13   Tatum             Klosterman      Tatum Klosterman v. JUUL Labs           3:22-cv-05914
                                       Inc., et al.
14
     Dylan             Rendon          Dylan Rendon v. JUUL Labs Inc., et      3:22-cv-05586
15                                     al.
16
     Kyle              Lichtenstein    Kyle Lichtenstein v. JUUL Labs          3:22-cv-05673
17                                     Inc., et al.

18   Casseem           Sampson         Casseem Sampson v. JUUL Labs            3:22-cv-06788
                                       Inc., et al.
19
20   Eduardo           Fabri           Eduardo Fabri v. JUUL Labs Inc., et     3:22-cv-05590
                                       al.
21
     Angelina          Sims            Angelina Sims v. JUUL Labs Inc.,        3:22-cv-06266
22                                     et al.
23   Colby             Kudla           Colby Kudla v. JUUL Labs Inc., et       3:22-cv-06346
24                                     al.

25   Sebastian         Capote          Sebastian Capote v. JUUL Labs Inc., 3:22-cv-06773
                                       et al.
26
     Alyssa            Rogers          Alyssa Rogers v. JUUL Labs Inc., et     3:22-cv-06653
27                                     al.
28

                                                  -6-                             19-md-02913-WHO
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 1   First Name         Last Name       Case Caption                           Docket Number
 2
     Logan              Weisz           Logan Weisz v. JUUL Labs Inc., et       3:22-cv-05534
 3
                                        al.
 4
     Nathan             Padilla         Nathan Padilla v. JUUL Labs Inc., et    3:22-cv-06576
 5                                      al.

 6   Francesco          Camilli         Francesco Camilli v. JUUL Labs          3:22-cv-06831
                                        Inc., et al.
 7

 8   Daniel             Hermida         Daniel Hermida v. JUUL Labs Inc.,      3:22-cv-06807
                                        et al.
 9
     Justin             Kehoe           Justin Kehoe v. JUUL Labs Inc., et     3:22-cv-06924
10                                      al.
11   Kira               Ambrosi         Kira Ambrosi v. JUUL Labs Inc., et     3:22-cv-05846
12                                      al.

13   Brandi             Licoski         Brandi Licoski v. JUUL Labs Inc.,      3:22-cv-06338
                                        et al.
14
     Lincoln            Gibson          Lincoln Gibson v. JUUL Labs Inc.,      3:22-cv-06942
15                                      et al.
16
     Trae               Luppens         Trae Luppens v. JUUL Labs Inc., et      3:22-cv-05916
17                                      al.

18   Mercury            Khalsa          Mercury Khalsa v. JUUL Labs Inc.,       3:22-cv-06592
                                        et al.
19
20   Julia              Burden          Julia Burden v. JUUL Labs Inc., et     3:22-cv-06919
                                        al.
21
     Lara               Yee-Cagakit     Lara Yee-Cagakit v. JUUL Labs          3:22-cv-06465
22                                      Inc., et al.
23   Melanie            Cosmes          Melanie Cosmes v. JUUL Labs Inc.,      3:22-cv-07873
24                                      et al.

25   Ashley             Hicks           Ashley Hicks v. JUUL Labs Inc., et     3:22-cv-00336
                                        al.
26
     Bryer              Ketterman       Bryer Ketterman v. JUUL Labs Inc.,     3:22-cv-06341
27                                      et al.
28

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 1   First Name      Last Name       Case Caption                          Docket Number
 2
     Basmalah        Ghahin          Basmalah Ghahin v. JUUL Labs          3:22-cv-06281
 3
                                     Inc., et al.
 4
     Anzhelika       Amelina         Anzhelika Amelina v. JUUL Labs          3:22-cv-07817
 5                                   Inc., et al.

 6   Marcela         Modrusic        Marcela Modrusic v. JUUL Labs         3:22-cv-06494
                                     Inc., et al.
 7

 8   Kobie           Karhoff         Kobie Karhoff v. JUUL Labs Inc., et   3:22-cv-06447
                                     al.
 9
     Isabella        Williams        Isabella Williams v. JUUL Labs        3:22-cv-06850
10                                   Inc., et al.
11   Madison         Doty            Madison Doty v. JUUL Labs Inc., et    3:22-cv-06476
12                                   al.

13   Jasmyn          Taylor          Jasmyn Taylor v. JUUL Labs Inc., et   3:22-cv-01658
                                     al.
14
     Devin           Bullins         Devin Bullins v. JUUL Labs Inc., et     3:22-cv-02264
15                                   al.
16
     Riley           Reid            Reid v. JUUL Labs, Inc., et al.       3:22-cv-07767-WHO
17

18   Jeremy          Starling        Jeremy Starling v. JUUL Labs, Inc.,   3:20-cv-05731
                                     et al.
19
20   Joshua          Stafford        Joshua Stafford v. JUUL Labs, Inc.,   3:21-cv-08662
                                     et al.
21
     Patrick         Nicolia         Patrick Nicolia v. JUUL Labs, Inc.,   3:21-cv-02963
22                                   et al.
23   Robert          Nichols         Robert Nichols v. JUUL Labs, Inc.,    3:20-cv-05692
24                                   et al.

25   Ryan            Rozelle         Ryan Rozelle v. JUUL Labs, Inc., et   3:20-cv-04361
                                     al.
26
     Heather         Sobik           Heather Sobik vs. JUUL Labs, Inc.     3:19-cv-06565
27

28

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 1   First Name         Last Name       Case Caption                           Docket Number
 2
     Ashlin             Ardito          Ashlin Ardito v. JUUL Labs, Inc.       3:20-cv-00908
 3

 4
     Eric               Smith           Eric Smith v. JUUL Labs,Inc.           3:20-cv-01718
 5

 6   Maria              Ireland         Maria Ireland v. JUUL Labs, Inc., et   3:21-cv-06413-WHO
                                        al.
 7

 8   Aaron              Lau             Aaron Lau v. JUUL Labs, Inc.           3:20-cv-01146

 9
     Hunter             Haynes          Hunter Haynes vs. JUUL Labs, Inc.,     3:20-cv-07091
10                                      et al.
11   Allyssa            Keller          Allyssa Keller, Plaintiff, v. JUUL     3:20-cv-00262-WHO
12                                      Labs, Inc., et al.

13   William            Norwood         William Norwood V JUUL Labs,           3:22-cv-04220
                                        Inc., et al.
14
     Richard            McMillon        Richard McMillon v. JUUL Labs,         3:20-cv-01315
15                                      Inc. et al.
16
     Steven             Keenum          Steven Keenum v. JUUL Labs, Inc.,      3:21-cv-05051-WHO
17                                      et al.

18   Brad               Nelson          Brad Nelson v. JUUL Labs, Inc.         3:20-cv-00109
19
20   Leiyah             Bonday          Leiyah Bonday v. JUUL Labs, Inc.,      3:22-cv-07579
                                        et al.
21
     Rose               King            Rose King v. JUUL Labs, Inc., et al.   3:22-cv-07583
22

23   Khadija            Julien          Khadija Julien v. JUUL Labs, Inc.,     3:21-cv-08418
24                                      et al..

25   Barbara            Arnold          Barbara Arnold v. JUUL Labs, Inc.,     3:22-cv-07555
                                        et al.
26
     Robbie             Wilson          Robbie Wilson v. JUUL Labs, Inc.,      3:20-cv-09129
27                                      et al.
28

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 1   First Name      Last Name       Case Caption                            Docket Number
 2
     Tyler           Bergey          Tyler Bergey v. JUUL Labs, Inc.         3:20-cv-03428
 3

 4
     Matai           Barre           Jennifer Chan as Guardian ad Litem 3:22-cv-07574
 5                                   to M.B., a minor v. JUUL Labs, Inc.,
                                     et al.
 6
     Keyosha         Decuir          Keyosha Decuir v. JUUL Labs, Inc.,      3:20-cv-08919
 7                                   et al.
 8
     Emily           Fight           Emily Grace Fight v. JUUL Labs,         3:22-cv-07384
 9                                   Inc et al.

10   Dylan           Pearce          Dylan Pearce v. JUUL Labs, Inc.,        3:22-cv-02211
                                     Marketing, Sales Practices and
11                                   Products Liability Litigation, et al.
12   Kathryn         Edmond          Kathryn Edmond v. JUUL Labs,            3:20-cv-09192
                                     Inc., et al.
13

14   Jasmine         Thomas          Jasmine Thomas v. JUUL labs INC         3:22-cv-03735-WHO
                                     et al.
15
     Zachary         Pryor           Zachary Pryor v. JUUL Labs Inc., et     3:21-cv-09123
16                                   al.
17
     Muhand          Widah           Muhand Widah v. JUUL Labs, Inc.,        3:22-cv-06253
18                                   et al.

19   John            McClure         McClure v. JUUL Labs, Inc. et al..      3:20-cv-01838

20
     Julia           Curtis          Julia Curtis v. JUUL Labs, Inc., et     3:22-cv-07982
21
                                     al.
22
     Gabriel         Croft           Croft v. JUUL Labs, Inc., et al.        3:22-cv-06107-WHO
23

24   Jumauis         Mack            Jumauis Mack v. JUUL Labs, Inc.,        3:22-CV-06283-WHO
25

26   Claudia         Irving          Claudia Irving v. JUUL Labs Inc., et    3:22-cv-08724
                                     al.
27
     Michika         McClinton       Michika McClinton v JUUL Labs           3:22-cv-08750
28                                   Inc., et al.

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 1   First Name      Last Name       Case Caption                          Docket Number
 2
     Chase           Wallace         Chase Wallace v. JUUL Labs Inc. et    3:20-cv-02701
 3
                                     al.
 4
     Kelsey          Morgan          Kelsey Morgan Brown v. JUUL           3:22-cv-08763
 5                   Brown           Labs, Inc., et al.

 6   Christopher     Roethke         Christopher Roethke v. JUUL Labs,     3:22-cv-08741
                                     Inc., et al.
 7

 8   Henry           Roy             Henry Roy v. JUUL, et al.             3:22-cv-08722

 9
     Kyle            Kirk            Kyle Kirk v. JUUL                     3:22-cv-08811
10

11   Madisen         Keffer          Timugen Keffer, Individually and as   3:19-md-02913-WHO
12                                   Personal Representative for the
                                     Estate of his minor child, M.K.,
13                                   Deceased v. JUUL Labs, Inc., et al.

14   Kenneth         Campbell        Kenneth Campbell v. JUUL Labs,        3:20-cv-03738
                                     Inc., et al.
15
     Josef           Lewis           Josef Lewis v. JUUL Labs, Inc.,       3:20-cv-06135
16
                                     previously d/b/a PAX LABS, INC.
17                                   and PLOOM INC. et al.

18   Ronald          Claytor         Claytor v. JUUL Labs, Inc., et al.    3:20-cv-08316

19
     Sean            Ryan            Sean Ryan vs JUUL Labs Inc            3:20-cv-08660
20

21
     Adrianna        Cardell         Adrianna Cardell vs JUUL Labs Inc     3:20-cv-08820
22

23   Ryan            Cooper          Ryan Cooper v. JUUL Labs, Inc., et    20-cv-08333
                                     al.
24
     Benjamin        Shirvinski      Benjamin Shirvinski ; In Re JUUL      3:20-cv-09069
25
                                     Labs, Inc., Marketing, Sales
26                                   Practices, and Products Liability
                                     Litigation
27
     Noah            Murray          Noah Murray vs JUUL Labs Inc          3:20-cv-09121
28

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 1       First Name          Last Name         Case Caption                             Docket Number
 2
         Ronisha             Lawson            Ronisha Lawson v. JUUL Labs, Inc., 3:20-cv-08342
 3
                                               et al.
 4
         Joseph              Ferris            Joseph Ferris v. JUUL Labs Inc., et      3:20-cv-07745
 5                                             al.

 6       Rebecca             Walker2           WALKER et al. v. JUUL Labs, Inc.,        3:19-md-02913-WHO
                                               et al.
 7

 8       Alissa              Lake              Alissa Lake v. JUUL Labs, Inc., et       3:20-cv-08927
                                               al.
 9
         Joseph              Smith             Joseph Smith vs JUUL Labs Inc            3:21-cv-01321
10

11       David               Song              David Song v. JUUL Labs, Inc., et        3:21-cv-04046
12                                             al.

13       Adam                Warman            Adam Warman v. JUUL Labs, Inc.,          3:21-cv-05918
                                               et al.
14
         Christopher         Walker            Exie Dyer, individually, and as the      3:21-cv-04752
15                                             legal Guardian of her minor child,
16                                             C.W. v. JUUL Labs, Inc., et al.

17       Shaylen             Miller            Patricia Bailey, individually, and as    3:21-cv-04798
                                               the legal Guardian of her minor
18                                             child, S.M. v. JUUL Labs, Inc., et al.

19       Carneilrous         Flucker           Carneilrous Flucker v. JUUL Labs,        3:21-cv-06373
                                               Inc., et al.
20
         Kevyn               Annonio           Kevyn Annonio v. JUUL Labs, Inc.,        3:21-cv-05676
21
                                               et al.
22
         Mitchell            Gersh             Gersh vs. JUUL Labs, Inc et al..         3:21-cv-07455-WHO
23

24       Blaise              Potts             Blaise Potts v. JUUL Labs, Inc., et      3:21-cv-08076
                                               al.
25

26       Cameron             Naylor            Cameron Naylor v. JUUL Labs, Inc., 3:22-cv-00045-WHO
                                               et al.
27

28   2
         Plaintiff is the member of a multi-plaintiff case.
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 1   First Name      Last Name       Case Caption                          Docket Number
 2
     Justin          Schuette        Justin Schuette v. JUUL Labs, Inc.,   3:22-cv-02019
 3
                                     et al.
 4
     Alexis          Shumpert        Alexis Shumpert v. JUUL Labs,         3:22-cv-00247
 5                                   Inc., et al.

 6   Alexander       Erdellan        Alexander Erdellan v. JUUL Labs       3:22-cv-07997
                                     Inc., et al.
 7

 8   Dakota          Frost           Dakota Frost v. JUUL Labs, Inc., et   3:22-cv-07847
                                     al.
 9
     Tabitha         Morris          Tabitha Morris v. JUUL Labs, Inc.,    3:22-cv-08371
10                                   et al.
11   Jane            Mulvahill       Jane Mulvahill v. JUUL Labs, Inc.,    3:22-cv-08290
12                                   et al.

13   Kaitlin         Norton          Kaitlin Norton v. JUUL Labs, Inc.,    3:22-cv-08505
                                     et al.
14
     Nicholas        Sachs           Nicholas Sachs v. JUUL Labs, Inc.,    3:22-cv-08760
15                                   et al.
16
     Trevor          Saunders        Trevor Saunders v. JUUL, et al.       3:22-cv-08427
17

18   Jaime           Gomez           Jaime Gomez v. JUUL Labs, Inc., et    3:22-cv-08592
                                     al.
19
20   Camilo          Gonzalez        Camilo Gonzalez v. JUUL Labs,         3:22-cv-08388
                                     Inc., et al.
21
     Alberto         Guerrero        Alberto Guerrero v. JUUL Labs,        3:22-cv-08431
22                                   Inc., et al.
23   Debbie          Hennessy        Debbie Hennessy v. JUUL Labs,         3:22-cv-08018
24                                   Inc., et al.

25   Chase           Kristiansen     Chase Kristiansen v. JUUL Labs,       3:22-cv-07936
                                     Inc., et al.
26
     Lindy           McGraw          Lindy McGraw v. JUUL Labs, Inc.,      3:22-cv-08040
27                                   et al.
28

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 1   First Name      Last Name       Case Caption                           Docket Number
 2
     Humayun         Mian            Humayun Mian v. JUUL Labs, Inc.,       3:22-cv-07892
 3
                                     et al.
 4
     Jeremiah        Clarke          Jeremiah Clarke v. JUUL Labs, Inc.,    3:22-cv-08175
 5                                   et al.

 6   Don             Cooper          Don Cooper III v. JUUL Labs, Inc.,     3:22-cv-08360
                                     et al.
 7

 8   Rose            Cosenza         Rose Cosenza v. JUUL Labs, Inc et      3:22-cv-08570
                                     al.
 9
     Andrew          Delk            Andrew Delk v. JUUL Labs, Inc., et     3:22-cv-08363
10                                   al.
11   Julia           Garrett         Julia Garrett v. JUUL Labs, Inc., et   3:22-cv-08383
12                                   al.

13   Landon          White           Landon White v. JUUL                   3:22-cv-08272

14
     Cierra          Sullivan        Cierra Sullivan v. JUUL                3:22-cv-08101
15

16
     Harley          Vaughn          Harley Vaughn v. JUUL, et al.          3:22-cv-07916
17

18   Parmeshwar      Persaud         Parmeshwar Persaud v. JUUL Labs,       3:22-cv-07816
                                     Inc., et al.
19
20
     Maximus         Romero          Michelle Moore, Individually and       3:22-cv-08025
21                                   obo Maximus Romero, a minor v.
                                     JUUL Labs, Inc., et al.
22
     Amber           Chute           D.C., a minor, by and with his parent 3:22-cv-07828
23                                   and Natural Guardian Amber Chute
24                                   v. JUUL Labs, Inc., et al.

25   Derek           Carver          Derek Carver v. JUUL Labs, Inc.,       3:22-CV-06178-WHO

26
     Rece            Dale            Rece Dale v. JUUL Labs, Inc.,          3:22-CV-06188-WHO
27

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 1   First Name        Last Name       Case Caption                            Docket Number
 2
     Keith             Dinkins         Keith Dinkins v. JUUL Labs, Inc.,       3:22-CV-06208-WHO
 3

 4
     Brian             Sturgeoun       Brian Sturgeoun v. JUUL Labs, Inc.,     3:22-CV-06232-WHO
 5

 6   Eli               Hines           Brandon T. Leahy, Sr., as next friend 3:22-cv-7763-WHO
                                       of minor E.H. v. JUUL Labs, Inc., et
 7
                                       al.
 8
     Claire            Chiquete        Rebecca L. Chiquete as next friend      3:22-cv-07812-WHO
 9                                     of minor C.E.C. v. JUUL Labs, Inc.,
                                       et al.
10
     Shane             Bridges         Stacey M. Calcote as next friend of     3:22-cv-07804-WHO
11                                     minor S.M.B. v. JUUL Labs, Inc.,
                                       et al.
12
     Scott             Horton          Scott Horton, individually and on       3:20-cv-08510-WHO
13                                     behalf of his minor child, J.H. v.
14                                     JUUL, et al.

15   Jacob             Hiser           Jacob Hiser v. JUUL Labs., Inc., et     3:21-cv-00645
                                       al.
16
     Matthew           Murphy          Matthew Murphy, et al. v. JUUL          3:2019-cv-06927
17                                     Labs, Inc.                              (cand)
18   Elaina            Feagans         Elaina Feagans v. JUUL Labs., Inc.,     3:21-cv-01975
19                                     et al.

20   Timothy           Stephens        Timothy Stephens v. JUUL Labs.,         3:-21-cv-01274
                                       Inc., et al.
21
     Hugh              Manuel          Manuel v. JUUL Labs, Inc., et al.       3:21-cv-06036
22

23
     Tyler             Hute            Tyler Hute v. JUUL Labs, Inc., et al.   3:20-cv-2938
24

25   Ashten            Coker           Ashten Coker v. JUUL Labs, Inc., et     3:22-cv-02484
                                       al.
26
     Jonathan          Grantham        Jonathan Grantham v. JUUL Labs,         3:22-cv-08585
27
                                       Inc., et al.
28

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 1       First Name        Last Name         Case Caption                              Docket Number
 2
         Madison           Alspach3          Akins, et al. v. JUUL Labs, Inc. et       3:22-cv-07112
 3
                                             al.
 4
         Vanessa           Zastro4           Akins, et al. v. JUUL Labs, Inc. et       3:22-cv-07112
 5                                           al.

 6       Ashten            Coker5            Kerner, et al. v. JUUL Labs, Inc. et      3:22-cv-07111
                                             al.
 7

 8       Joseph            Economides6       Raphael, et al. v. JUUL Labs, Inc. et     3:22-cv-08225
                                             al.
 9
         Samuel            Gill7             Swingle, et al. v. JUUL Labs, Inc. et     3:22-cv-08220
10                                           al.
11       Kendell           Johnson8          Swingle, et al. v. JUUL Labs, Inc. et     3:22-cv-08220
12                                           al.

13       Ethan             Zipsie            Ethan Zipsie v. JUUL Labs Inc., et         3:22-cv-05545
                                             al.
14
         Bobby             Dickens           B.D., a minor, by and through his         3:21-cv-05959
15                                           Parent/Guardian Arthur R. Reeder
16                                           v. JUUL Labs, Inc., et al.

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22   3
       Plaintiff is the member of a multi-plaintiff case. Plaintiff is listed as Michelle Alspach,
     Individually, and on behalf of Madison Alspach, a minor.
23   4
       Plaintiff is the member of a multi-plaintiff case. Plaintiff is listed as Savanna Bond, Individually,
24   and on behalf of Vanessa Zastro, a minor.
     5
       Plaintiff is the member of a multi-plaintiff case.
25   6
       Plaintiff is the member of a multi-plaintiff case. Plaintiff is listed as Christos Economides,
26   Individually, and on behalf of Joseph Economides.
     7
       Plaintiff is the member of a multi-plaintiff case. is listed as Brenda Gill, Individually, and on
27   behalf of Samuel Gill, a minor.
     8
28     Plaintiff is the member of a multi-plaintiff case. Plaintiff is listed as Tiffany Johnson, Individually,
     and on behalf of Kendall Dewayne, a minor.
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